Case 2:23-cv-00120-JRS-MG Document 48 Filed 09/27/23 Page 1 of 2 PageID #: 1787




                       UNITED STATES DISTRICT COURT
                       SOUTHERN DISTRICT OF INDIANA
                           TERRE HAUTE DIVISION

 THE BOPP LAW FIRM, PC,                      )
                                             )
                           Plaintiff,        )
                                             )
                      v.                     )      No. 2:23-cv-00120-JRS-MG
                                             )
 TRUE THE VOTE, INC.,                        )
                                             )
                           Defendant.        )

    TRIAL SETTING AND NOTICE OF FINAL PRETRIAL CONFERENCE

       This cause is hereby set for a Bench Trial before Judge James R. Sweeney II

 on July 7, 2025 at 9:00 a.m. (ET) in Room 131 of the U.S. Courthouse, 921 Ohio

 Street, Terre Haute, Indiana.

       A Final Pretrial Conference is also set for June 18, 2025 at 9:00 a.m. (ET) in

 Room 307 of the Birch Bayh Federal Building and U.S. Courthouse, 46 East Ohio

 Street, Indianapolis, Indiana.




 Date: 9/27/2023
Case 2:23-cv-00120-JRS-MG Document 48 Filed 09/27/23 Page 2 of 2 PageID #: 1788




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